Case 2:10-md-02179-CJB-DPC Document 3424-2 Filed 07/25/11 Page1of1

UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF LOUISIANA

IN RE: OIL SPILL by the OIL RIG MDL NO. 2179
“DEEPWATER HORIZON”
in the GULF OF MEXICO

on APRIL 20, 2010

SECTION: J

This Document Relates to:

Dong Nguyen, et al. v.

BP Exploration and Production,
inc., et al.

EDLA No. 10-3171 §

§
§
§ JUDGE BARBIER
§ MAG. JUDGE SHUSHAN
§
§

ORDER ON PLAINTIFFS’ MOTION FOR LEAVE OF
COURT TO VOLUNTARILY DISMISS CLAIMS WITHOUT PREJUDICE

Considering the foregoing Motion,

IT IS HEREBY ORDERED that Plaintiffs’ TONY DANG, PHUNG NGUYEN, HAO
NGUYEN, XUAN DUONG, DUY NGUYEN and PHONG HOANG’S Motion for Leave of
Court to Voluntarily Dismiss Claims Without Prejudice is hereby in all things is
GRANTED.

IT IS FURTHER ORDERED THAT that the claims of Plaintiffs’ TONY DANG,
PHUNG NGUYEN, HAO NGUYEN, XUAN DUONG, DUY NGUYEN and PHONG
HOANG only, as listed on Exhibit “A” attached to said Motion are hereby dismissed
without prejudice. This Order in no way affects the claims of the remaining Plaintiffs in
this Civil Action.

New Orleans, Louisiana, this day of , 2011.

HONORABLE CARL J. BARBIER
